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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

UNITED STATES OF AMERICA                              )       Case No. 3:21-CR-00525-MGL
                                                      )
                       v.                             )
                                                      )
JEFFREY ALAN BENJAMIN                                 )
                                                      )

         GOVERNMENT’S RENEWED MOTION TO DISQUALIFY COUNSEL

       The United States of America, by and through its undersigned Assistant United States

Attorneys, hereby moves this Court to disqualify William M. Sullivan, Jr. (“Mr. Sullivan”) and his

law firm, Pillsbury Winthrop Shaw Pittman LLP (“PWSP”), from participating in the defense of

the Defendant, Jeffrey A. Benjamin (“Benjamin”). Mr. Sullivan’s decision over two years ago to

represent both Benjamin and a colleague – two materially adverse clients in the same matter –

despite repeated Government warnings, has predictably metastasized and now presents a conflict

of interest under South Carolina Rule of Professional Conduct (“SCRPC”) 1.9, as well as an

unwaivable Sixth Amendment deficiency in the proceedings. In an attempt to avoid

disqualification, Mr. Sullivan has now produced “waivers” from his current and former clients that

do not resolve (and, in fact, deepen) his long-apparent conflicts of interest, all while raising new

constitutional concerns and presenting intractable problems for trial in this case.

       The United States is now compelled to raise these issues for the Court, as Mr. Sullivan

cannot properly represent Benjamin and also cross-examine his former client at trial. Accordingly,

and notwithstanding Mr. Sullivan’s purported “waivers,” the Court should disqualify him and

PWSP, and grant Benjamin reasonable time to obtain new, unconflicted, counsel.

       This is the Government’s second motion to disqualify Mr. Sullivan. See In re: Matter

Occurring Before Grand Jury 3, 3:20-mc-00504-MGL. As the Court is aware, on December 10,
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2020, the Government first moved to disqualify Mr. Sullivan due to his simultaneous

representation of two materially adverse clients – the same individuals that are now the focus of

this renewed motion: Benjamin (formerly a target, now the named Defendant) and Danny Roderick

(“Roderick”) (formerly a subject and now a Government witness). The Government submitted its

initial motion to disqualify during the pendency of its grand jury investigation, and focused on Mr.

Sullivan’s violation of SCRPC 1.7, which governs current-client conflicts of interest. Id. at Dkt.

No. 7. Confronted with the Government’s motion, Mr. Sullivan released Roderick as a client. In

response, the Government withdrew its motion but observed that “Mr. Sullivan’s ongoing

representation of Jeffrey Benjamin in this matter could present additional conflicts under SCRPC

Rule 1.9” and specifically reserved “the right to re-assert a conflict under SCRPC Rule 1.9 or any

other related issues, as may be necessary to protect the integrity of this investigation and the grand

jury process.” Id. at Dkt. No. 10.

       Because Mr. Sullivan’s conflicts of interest remain unresolved, the Government must now

renew its motion to disqualify. 1 In the year since the Government’s initial motion, the adverse

relationship between Mr. Sullivan’s current client (Benjamin) and former client (Roderick) has

only grown. Roderick has met with Government investigators and provided incriminating

information against Benjamin. And based in part upon Roderick’s statement, Benjamin was

indicted by the grand jury on multiple counts of conspiracy, wire fraud, and securities fraud. The

Government now intends to call Roderick as a prosecution witness at Benjamin’s trial.



1
  The Government has an affirmative obligation to notify the Court of conflicts as they arise rather
than wait until post-conviction proceedings. See United States v. Malpiedi, 62 F.3d 465, 470 (2d
Cir. 1995) (considering defendant’s claims of ineffective assistance of counsel due to a conflict,
raised for the first time on appeal, and expressing the court’s trust that “it will not take another
decision to induce the government to bring any conflict of interest to the district court’s attention,
rather than remaining silent in order to gain a tactical advantage from that conflict.”).


                                                  2
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       Mr. Sullivan’s continued representation of Benjamin therefore presents an actual conflict

– foreseen by the Government and raised with Mr. Sullivan on numerous occasions over the past

two years. As this case proceeds to trial, Mr. Sullivan’s continued representation of Benjamin

would violate both the Sixth Amendment and the South Carolina Rules of Professional Conduct,

as Mr. Sullivan cannot uphold his duty of loyalty and confidentiality to former client Roderick

while simultaneously meeting his constitutional and ethical obligations to vigorously defend

Benjamin. Put simply, Mr. Sullivan cannot properly expect to cross-examine his own former client

in defense of his current one. These conflicts jeopardize the integrity and fairness of these

proceedings, and these deficiencies cannot be cured by informed consent. Even when a conflict

has been purportedly waived, a district court must “exercise its own independent judgment as to

whether the proceedings are likely to have the requisite integrity if a particular lawyer is allowed

to represent a party.” United States v. Williams, 81 F.3d 1321, 1324 (4th Cir. 1996). Thus, under

binding Fourth Circuit precedent, and notwithstanding Mr. Sullivan’s newly-acquired “waivers,”

the appropriate remedy is disqualification.

I.     BACKGROUND 2

       During the relevant time period, Benjamin was the Senior Vice President for New Plants

and Major Projects at Westinghouse Electric Company (“WEC”). Dkt. No. 2 at ¶ 3. For much of

the relevant time period, Benjamin reported regularly to Roderick, who was the Chief Executive

Officer (“CEO”) at WEC. In February 2016, Roderick became CEO of Toshiba’s Energy Systems

Solutions (“ESS”), where he was responsible for managing 162 subsidiary companies. 3 As part of



2
 The factual narrative is derived from interviews, documents obtained from Federal Grand Jury
Subpoenas, public source documents, attorney proffers, and sworn grand jury testimony.
3
 During the relevant time period, Westinghouse was a subsidiary of the Japanese corporation
Toshiba.
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the transition, Roderick became the Chairman of WEC’s board and, by April 2016, was living

primarily in Japan. Through 2016 and into 2017, Roderick’s involvement with the V.C. Summer

Nuclear Project was more limited than Benjamin’s, by virtue of Roderick’s new responsibilities

and primary residence in Japan.

       A.      Benjamin and Roderick’s Roles in the V.C. Summer Nuclear Project.

       As Senior Vice President for New Plants and Major Projects, Benjamin’s principal

responsibility was to sell and oversee the construction of WEC’s next-generation modular nuclear

reactor – the “AP1000.” Dkt. No. 2 at ¶ 3. With the AP1000, WEC intended to introduce to the

world a nuclear reactor that was affordable and easy to build; initial plans claimed that an AP1000

unit could be built for under $2 billion and substantially completed in as little as 36 months.

       In 2013, WEC broke ground on its four U.S. AP1000 reactors – two in South Carolina at

the V.C. Summer Nuclear Site (“Unit 2” and “Unit 3”), and two in Georgia at the Vogtle Nuclear

Site. At both sites, WEC served as the principal contractor, responsible for the engineering and

design of the AP1000, and hired sub-contractors to physically construct the new nuclear units. Dkt.

No. 2 at ¶ 12. Benjamin was directly involved in overseeing the development of these units and

regularly communicated with high-level owner executives on WEC’s behalf about the project

status and schedule. Id. at ¶ 23. From the beginning, however, the Project was plagued by

significant cost and schedule overruns. Id. at ¶ 16.

       In July 2015, WEC commissioned a third party to conduct an independent assessment and

evaluation of the construction schedule for the Project, seeking specifically to estimate the

“remaining duration required to complete each unit.” Id. at ¶ 17. The schedule analysts reported to

Benjamin that the schedule was at risk and that the units would most likely be completed at least

13 months behind the current reported completion dates. Benjamin and others at WEC nevertheless



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assured the Owners that the units would be substantially complete before the tax credit deadline.

Id. at ¶ 23.

        By 2016, WEC and the Owners had negotiated a new contract that placed much of the

financial risk for cost and schedule overruns onto WEC, including monetary damages and penalties

for failing to meet the projected substantial completion dates or tax credit deadline. Id. at ¶ 20.

That year, WEC also replaced its primary construction contractor – Chicago Bridge & Iron – with

Fluor Enterprises, Inc. (“Fluor”). Id. at ¶ 16. Through the second half of 2016 and into early 2017,

certain Owner executives began to realize that WEC’s schedules were unrealistic and that the tax

credits were at great risk. Nevertheless, when Owners’ executives confronted Benjamin with

questions about the schedule, he and others at WEC assured them that WEC would deliver both

units on schedule and in advance of the December 31, 2020 tax credit deadline. Id. at ¶ 23, 24, 30.

        Throughout 2016, Benjamin’s knowledge of the schedule and cost risks continued to grow.

As his knowledge grew, so did his efforts to conceal damaging information. When Fluor joined

the Project as WEC’s construction sub-contractor in January 2016, the parties – WEC, Fluor, and

the Owners – understood that Fluor would prepare a new “rebaselined” Project schedule that would

provide them all with greater visibility into the costs and time remaining to complete the Project.

Id. at ¶ 22, 25. In late August 2016, Fluor delivered WEC preliminary results from its rebaselined

schedule analysis. Id. at ¶ 32. These results showed that Unit 2 would not be completed until

August 22, 2022 – three years behind the 2019 completion date that WEC had promised the

Owners, and that SCANA had just announced to investors and submitted to regulators in support

of a rate increase. Id. at ¶ 29, 30, 32. Under the Fluor analysis, the completion date for Unit 3

would be even later, likely another year behind the Unit 2 completion date.




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         Benjamin was informed of these findings. Id. at ¶ 33. Benjamin informed subordinates that

the dates were “unacceptable,” and that he would not authorize any change to the existing schedule.

Id. at ¶ 32, 33. In defense of its preliminary findings, Fluor sent WEC a letter stating that the

current schedule was “unrealistic,” that it would be “unethical” to produce schedules “that are not

realistic or impracticable,” and that relying on “unrealistic schedules will lead to needless

expenditure of funds and an overall increase in the cost of the project.” Id. at ¶ 34. In response,

Benjamin authorized a letter to Fluor that instructed the contractor to “[s]top all work on

developing [a projected cost] estimate and [] associated schedule . . . as this is not in support of the

‘June/June’ schedule . . . .” Id. at ¶ 38, 39. The WEC “cease and desist” letter further admonished

Fluor by stating there is “but one schedule on the project and that schedule is the schedule [WEC

has] termed, the June/June schedule.” Id. at ¶ 38. WEC and Fluor ultimately agreed that Fluor

would deliver WEC a new cost estimate for Project completion, but without a new schedule. Id. at

¶ 40.

         On Wednesday, September 21, 2016, Benjamin attended an “executive summit” with Fluor

officials in Aiken, South Carolina to discuss ongoing problems at the V.C. Summer and Votgle

sites. In a proposed agenda, Benjamin was identified as giving opening and closing statements.

The agenda additionally listed “Problem Statements,” which indicated that the relationship

between WEC and Fluor was “strained”; the “project productivity and performance is poor,

declining, and does not meet project needs”; the performance factor trend “is negative at both

sites”; and that the “ETC poses a significant threat to the viability to these projects if not managed

properly.” Exhibit 15. In an analysis of key milestones, the presentation indicated that Fluor’s

“sandbox” schedule indicated that Unit 2 was 46 months behind schedule, with an expected

completion date of August 28, 2023.



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        Within two weeks of authorizing the cease-and-desist letter and attending the Aiken

“executive summit,” Benjamin again told the Owners that both units would be complete on the

existing schedule and in advance of the December 31, 2020 tax credit deadline. Id. at ¶ 41.

Benjamin further told the Owners he expected a rebaselined schedule from Fluor by the end of

October 2016. Id. at ¶ 42. Benjamin’s misrepresentations to the Owners were parroted in SCANA’s

10-Q filed in November. Benjamin did not inform the Owners WEC had already ordered Fluor to

stop work on the schedule, that Fluor had reached a preliminary prediction of a three-year delay

and a Unit 2 completion date of August 2022, and that Fluor’s internal calculations predicted an

arrival date of at least another year behind that. Id.

        In October 2016, Fluor gave WEC its cost-to-complete estimate. Id. at ¶ 45. Fluor estimated

that it would cost WEC an additional $9.8 billion to complete the remaining work on all four U.S.

AP1000 units. Id. WEC assembled its own team to evaluate Fluor’s estimate. Id. This team

concluded that the nuclear construction in South Carolina and Georgia would result in at least a $6

billion loss for WEC. Id. According to WEC’s own financial analysts, WEC could not survive

more than a $2 billion loss. Id. at ¶ 47. When Benjamin met with other executives in late December

2016 to discuss Fluor’s projected cost estimates, Benjamin insisted—without support and contrary

to the formal findings of WEC’s own analysts—that WEC was facing only a $3 billion loss. Id. at

¶ 49. The next day, Toshiba issued a public statement informing investors and the public that WEC

was “evaluating the cost to complete the AP1000 contracts,” and that the cost to complete the units

will “far surpass original estimates.” Id. at ¶ 50. The release indicated that the current loss amount

was estimated to be $3 billion, based on Benjamin’s representations. Id. One month later, WEC

analysts would confirm that the correct estimate was approximately $6 billion, consistent with its

initial findings. Id. at ¶ 52.



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       On February 14, 2017, Benjamin disclosed to the Owners that Toshiba was facing a $6

billion loss, virtually all of which was specifically attributed to WEC’s nuclear construction

projects in the United States. Id. at ¶ 53. Churchman informed the Owners that the units would be

slightly delayed, but still delivered in advance of the December 31, 2020 tax credit deadline. Id.

Both Benjamin and Churchman knew that these dates were extremely unrealistic and virtually

impossible to meet.

       Following WEC’s February 14 disclosures, SCANA filed a Form 8-K report with the SEC.

Id. at ¶ 54. The filing informed investors that WEC and its parent Toshiba were “committed to

completing the two new Westinghouse AP1000 nuclear units being constructed in Jenkinsville,

SC” and that the slightly-delayed completion dates still allowed “the units to qualify, under current

law, for the federal production tax credits.” Id. Though SCANA executives Kevin Marsh and Steve

Byrne knew by this time that the tax credits were effectively lost, and that this statement was false,

Benjamin’s false assurances allowed them to parrot misinformation to SCANA’s investors,

regulators, and ratepayers.

       B.      Mr. Sullivan’s Joint Representation of Benjamin and Roderick.

       In response to Government inquiries during the pendency of the grand jury investigation,

Mr. Sullivan notified the Government that he was representing both Benjamin and Roderick on

July 10, 2019. Exhibit 1. During discussions and meetings that followed, the Government informed

Mr. Sullivan that his joint representation in the course of the investigation and potential

prosecution could present a conflict. On September 3, 2020, the United States Attorney’s Office

served Mr. Sullivan a target letter for Benjamin and a subject letter for Roderick. See Exhibits 2 &

3. The Government attached the letters to an email outlining concerns that Mr. Sullivan’s joint

representation of Benjamin and Roderick created an actual conflict in violation of SCRPC 1.7. See



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Exhibit 4. The Government detailed that “it is apparent from the evidence uncovered during the

course of the investigation, that Roderick’s testimony would be beneficial to the Government and

to Roderick himself, in a case against Benjamin” and that “[i]t is also likely that Benjamin has

information that informs our case with Roderick, and correspondingly can benefit Benjamin.” Id.

As the Government previously expressed to Mr. Sullivan on numerous occasions, the investigation

had revealed that Benjamin’s and Roderick’s interests were adverse to one another. Id. The

Government therefore did not believe it was prudent or appropriate for Mr. Sullivan to proceed

under joint representation. Id.

       Mr. Sullivan responded by letter dated September 11, 2020. See Exhibit 5. In his letter, Mr.

Sullivan disputed that an actual or potential conflict exists because he was “unaware of any

incriminating information or evidence that either Mr. Roderick or Mr. Benjamin could or would

provide about the other.” Id. Mr. Sullivan further represented that his clients had knowingly and

voluntarily waived any potential conflict of interest. Id. Last, Mr. Sullivan stated that his clients

did not intend to testify before a grand jury but were willing to “meet with your office for a

debriefing session to discuss their knowledge of the V.C. Summer project, in exchange for

transactional immunity regarding the subject matter of your investigation.” 4 Id. On October 22,

2020, the Government served a subpoena requiring Roderick to appear before the grand jury on

November 17, 2020. See Exhibit 6. Mr. Sullivan responded to the grand jury subpoena on behalf

of Roderick by letter dated November 2, 2020. See Exhibit 7. In the letter, Mr. Sullivan stated that

“Mr. Roderick must now invoke his constitutional Fifth Amendment rights and protections and




4
 Prior to the September 11, 2020 letter, Mr. Sullivan made representations to Government counsel
requesting blind immunity only for Roderick.
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respectfully declines to respond to any questions from the grand jury, and accordingly, he will not

appear before it.” Id.

        On November 8, 2020, the Government responded to Mr. Sullivan’s letter. See Exhibit 8.

The Government set forth that the Fifth Amendment did not broadly relieve Roderick from

appearing before the grand jury. Id. To the contrary, if Roderick intended to invoke his Fifth

Amendment rights, he had to do so question-by-question before the grand jury and only where a

truthful answer would tend to incriminate him personally. Id. The Government expressed concerns

about Mr. Sullivan placing Roderick at risk of contempt in order to effectively preclude his

testimony about Benjamin’s liability. Id. Mr. Sullivan’s desire for Roderick to avoid an appearance

before the grand jury not only illustrated the conflict that “has long been apparent” in his

representation of both Benjamin and Roderick but also impeded and obstructed the grand jury

investigation. Id.

        On November 12, 2020, the United States filed an ex parte motion to disqualify Mr.

Sullivan and his law firm from participating in the ongoing grand jury investigation. 3:20-mc-

00504-MGL. Thereafter, at the Court’s direction, the United States redacted, filed, and served its

ex parte motion on Mr. Sullivan. In the motion, the United States set forth that Mr. Sullivan’s joint

representation of Roderick and Benjamin presented an irreconcilable conflict of interest that

necessitated Mr. Sullivan’s disqualification. See In re: Matter Occurring Before Grand Jury 3,

3:20-mc-00504-MGL.

        On December 15, 2020, the United States was notified that Roderick had obtained new

counsel. On December 22, 2020, the United States filed a motion to withdraw its motion to

disqualify Mr. Sullivan and his law firm, recognizing that since Roderick retained new counsel,

the immediate conflict of interest under SCRPC 1.7 appeared to be resolved. Id. at Dkt. No. 10.



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However, in the motion to withdraw, the United States outlined that Mr. Sullivan’s continued

representation of Benjamin could present additional conflicts under SCRPC 1.9 and therefore

reserved its right to raise the arguments contained within the motion to disqualify or any related

issues at a later date. Id. As the investigation developed, the Government continued to notify Mr.

Sullivan of its concerns of an actual conflict under SCRPC 1.9. See Exhibits 9 & 10.

       C.      Roderick’s Cooperation and Benjamin’s Indictment.

       On June 16 and July 14, 2021, the FBI interviewed Roderick in the presence of his new

attorneys, Whitney Ellerman and Paul Enzinna. See Exhibits 11, 12. Roderick’s statements

inculpated Benjamin and supported the charges that the Government ultimately brought. 5

       Regarding the Project, Roderick confirmed that “Benjamin was responsible for opining on

the achievability of [the guaranteed substantial completion dates].” Exhibit 11 at 12. When asked

about Benjamin’s representations to the Owners in the September 26, 2016 President’s Meeting –

where Benjamin told the Owners that the units would be complete on the existing schedule in

advance of the tax credit deadline and that Fluor would provide a rebaselined schedule by the end

of October, despite Fluor’s preliminary schedule analysis showing an August 2022 completion

date and WEC’s “cease and desist” order – Roderick stated that Benjamin was “not fully

transparent.” Exhibit 12 at 9-10.

       Further, Roderick was not informed of Fluor’s preliminary findings or the “cease and

desist” letter but believes Benjamin should have done more to investigate Fluor’s findings and

concerns. Id. Roderick said that in 2016, he believed the schedule was being rebaselined because

Benjamin and others told him so. Id. at 2. Roderick says Benjamin should not have “pinned” the




5
 The following statements are excerpted from the FBI reports of interview, which were reviewed
and approved by Roderick in the presence of his current counsel. See Exhibits 11, 12.
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schedule to fixed dates, especially after Benjamin learned about Fluor’s August 2022 preliminary

schedule finding. Id. at 9. Roderick’s memorandum of interview reflects his reaction when asked

about Fluor’s preliminary schedule analysis:

               Nobody informed Roderick that Fluor had calculated a preliminary
               substantial completion date (SCD) of August 2022 for Unit 2 at VC
               Summer. Roderick was not informed of that date during a WEC
               meeting in Washington D.C. on 12/7/2016. If Benjamin was
               informed of the August 2022 SCD, then Benjamin should have had
               that date vetted. If accurate, then Benjamin should have reported that
               end date to Roderick and Gutierrez because of the material impact
               to WEC’s financials. A vetted August 2022 SCD was a disclosable
               event to the Owners and the financial community.

Id. at 9-10. Roderick stated that that around the time of the “cease and desist” letter, he believes

Benjamin and Carl Churchman “lied to him about what was being done with the schedule.” 6

Exhibit 12 at 9. As memorialized in his memorandum of interview, Roderick stated:

               Roderick believes that around the time of the [cease and desist
               letter], Benjamin and Churchman had lied to him about what was
               being done with the schedule. Certainly by that time there was
               enough information about the schedule where WEC needed to “dig
               in deeper to see what was going on.” Roderick should have been
               brought in that process due to the level of “noise happening” on the
               schedule between WEC and Fluor. Benjamin and Churchman
               should have brought in a team to figure out if there was more to what
               Fluor was saying about the schedule. Gutierrez should have
               informed the Owners that Fluor had challenged the schedule, there
               was information that might push out the schedule, and WEC was
               still rebaselining.

Id.

        More generally, Roderick described Benjamin as contentious, abrasive, and overbearing.

Exhibit 11 at 4, 12. Roderick further explained that Benjamin was the only person in the company




6
 Carl Churchman has pleaded guilty to one count of violating 18 U.S.C. § 1001 and is currently
cooperating in Benjamin’s prosecution. See United States v. Churchman, No. 3:21-cr-00278-
MGL.
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who had to be reprimanded for creating a “culture of fear.” Id. at 13. Roderick stated that over

time, Benjamin’s management style had become “unbearable.” Id. Roderick explained that if he

knew when he was managing Benjamin what he knows now, he “would have moved faster to

remove Benjamin.” Id. Roderick explained that Benjamin could be aggressive when put in a

stressful situation, and his response to stress was “exponentially bad.” Id.

       On August 18, 2021, the grand jury returned an indictment charging Benjamin with

conspiracy to commit mail fraud, wire fraud, and securities fraud in violation of 18 U.S.C. § 1349,

thirteen counts of wire fraud in violation of 18 U.S.C. § 1343, one count of securities fraud in

violation of 18 U.S.C. § 1348(1) and failing to keep accurate corporate records in violation of 15

U.S.C. § 78m(b)(2)(A). United States v. Benjamin, 3:21-cr-00525-MGL. The indictment relies in

part on Roderick’s statements, and the Government intends to call Roderick as a material witness

at Benjamin’s trial. Following the indictment, the Government informed Mr. Sullivan and local

counsel that although it did not oppose Mr. Sullivan’s motion to be admitted pro hac vice, it

“believe[d] that he has a conflict in this case under SCRPC 1.9, due to his previous representation

of Danny Roderick” and intended to raise the issue with the Court. Exhibit 13.

       D.      The Government’s Notice of Intent to File the Instant Motion and Roderick
               and Benjamin’s Resulting “Waivers.”

       On October 14, 2021, the Government informed Mr. Sullivan of its intent to renew its

motion to disqualify him and his law firm from representing Benjamin. Mr. Sullivan then notified

the Government that he had obtained signed waivers from Benjamin and Roderick, which he

believed resolved the actual conflicts of interest. Following a request by the Government, Mr.

Sullivan provided copies of Roderick and Benjamin’s signed waivers, as well as an additional

declaration from Benjamin. Exhibits 16-18. Thereafter, the Government requested a copy of




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Benjamin’s engagement letter, referenced in his signed waiver, and on November 2, 2021, Mr.

Sullivan provided a redacted portion of the engagement letter. Exhibit 19.

        In the waiver signed by Roderick on October 26, 2021, Roderick states that he believes his

and Benjamin’s interests are not adverse and that he does not have direct personal knowledge of

any facts that he believes indicate “any criminal culpability” on Benjamin’s part. Exhibit 16 at

¶ 12. Nevertheless, Roderick acknowledges the potential or actual conflicts of interest created by

Mr. Sullivan’s joint representation of him and Benjamin and the continuing duties of loyalty and

confidentiality owed to them both. Id. at ¶ 13. Notwithstanding his acknowledgement of the

conflicts of interest, Roderick consents to Mr. Sullivan and the law firm’s use of any confidential

information received by them during the course of their representation, including such use during

cross-examination if Roderick were to testify in a trial against Benjamin. Id. at ¶ 15.

        In Benjamin’s waiver, signed October 22, 2021, he similarly acknowledges the conflicts

of interest involved in Mr. Sullivan and his law firm’s continued representation. Exhibit 17 at ¶

13. Nevertheless, Benjamin states that “after carefully considering all possible present and future

potential or actual conflicts of interest – and having been fully informed of potential negative or

adverse, legal or tactical consequences arising from the former joint representation – I have

decided to continue my attorney-client relationship” with Mr. Sullivan and the law firm. Id. at ¶

16. Benjamin further expressly and knowingly waives any conflict arising from the former joint

representation. Id. at ¶ 17. The Government shared copies of the signed waivers, Benjamin’s

additional declaration, and the redacted portion of the engagement letter with its expert, Professor

Nathan Crystal. Professor Crystal reviewed the documents and produced the attached declaration

in support of the Government’s motion. Exhibits 14, 14a, and 14b.

II.     ARGUMENT



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       “Some conflicts – whether actual or potential – are so severe that they cannot be waived[.]”

United States v. Crinel, Case No. 15-cr-61, 2015 WL 4394158, at *4 (E.D. La. July 15, 2015)

(citing United States v. Wheat, 486 U.S. 153, 163 (1988)). For this reason, district courts “must be

allowed substantial latitude in refusing waivers of conflicts of interest not only in those rare cases

where an actual conflict may be demonstrated before trial, but in the more common cases where a

potential for conflict exists which may or may not burgeon into an actual conflict as the trial

progresses.” Wheat, 486 U.S. at 163.

       Here, Mr. Sullivan and his law firm must be disqualified from further representation

because, notwithstanding the “waivers” that he has obtained, Mr. Sullivan’s continued

representation of Benjamin creates a significant, looming, and unresolvable risk of conflict at trial.

The Fourth Circuit – and, indeed, courts around the country – have held such circumstances, in

which an attorney seeks to cross-examine a former client about the subject matter of that client’s

representation, to present non-waivable conflicts of interest. This case is no different. Because Mr.

Sullivan’s ongoing representation of Benjamin presents a significant likelihood of an actual

conflict in violation of the Sixth Amendment, the Court should disqualify Mr. Sullivan and PWSP

from the case. 7



7
  In its communications with Mr. Sullivan over the last two years, the Government repeatedly
expressed concerns that his representation of Roderick and Benjamin violated SCRPC 1.7 and 1.9.

SCRPC Rule 1.9 provides as follows:

RULE 1.9: DUTIES TO FORMER CLIENTS

(a) A lawyer who has formerly represented a client in a matter shall not thereafter represent another
person in the same or a substantially related matter in which that person’s interests are materially
adverse to the interests of the former client unless the former client gives informed consent,
confirmed in writing.



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       A.      The Sixth Amendment Requires a Review of Counsel’s Conflicts.

       The Sixth Amendment establishes the right to assistance of counsel in “all criminal

prosecutions,” which includes the right to counsel unimpaired by conflicting loyalties. See Powell

v. Alabama, 287 U.S. 45, 59 (1932); see also Glasser v. United States, 315 U.S. 60, 70 (1942)

(“[T]he ‘[a]ssistance of [c]ounsel’ guaranteed by the Sixth Amendment contemplates that such

assistance be untrammeled and unimpaired by a court order requiring that one lawyer shall

simultaneously represent conflicting interests.”). “[C]ounsel owes the client a duty of loyalty, a

duty to avoid conflicts of interest,” which is “perhaps the most basic of counsel’s duties.”

Strickland v. Washington, 466 U.S. 668, 692 (1984).




(b) A lawyer shall not knowingly represent a person in the same or a substantially related matter
in which a firm with which the lawyer formerly was associated had previously represented a client

       (1) whose interests are materially adverse to that person; and

       (2) about whom the lawyer had acquired information protected by Rules 1.6 and 1.9(c) that
       is material to the matter;

unless the former client gives informed consent, confirmed in writing.

(c) A lawyer who has formerly represented a client in a matter or whose present or former firm has
formerly represented a client in a matter shall not thereafter:

       (1) use information relating to the representation to the disadvantage of the former client
       except as these Rules would permit or require with respect to a client, or when the
       information has become generally known; or

       (2) reveal information relating to the representation except as these Rules would permit or
       require with respect to a client.

In light of the signed waivers provided to the Government on October 27, 2021, it appears that Mr.
Sullivan has obtained informed consent, confirmed in writing, as required under Rule 1.9(b).
Nevertheless, as fully set forth below, the Government believes the conflicts presented under these
circumstances are unwaivable.


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       District courts enjoy substantial discretion in determining whether conflicts of interest

exist, and whether to accept any proposed waiver of such conflicts. See United States v. Urutyan,

564 F.3d 679, 485-86 (4th Cir. 2009); see generally Wheat, 486 U.S. 153. While courts of course

consider a defendant’s preference for particular counsel, any such presumption “may be overcome

not only by a demonstration of actual conflict but by a showing of serious potential for conflict.”

United States v. Basham, 561 F.3d 302, 323 (4th Cir. 2009) (emphasis in original; internal citation

omitted); see also State v. Sanders, 341 S.C. 386, 389, 534 S.E.2d 696, 697 (2000) (observing that

“the Sixth Amendment does not confer an absolute right to be represented by one’s preferred

attorney”). In sum, “a district court has an obligation to foresee problems over representation that

might arise at trial and head them off beforehand.” Id. (quoting United States v. Howard, 115 F.3d

1151, 1155 (4th Cir. 1997)). Thus, a “district court is free to disqualify counsel even if the

defendant is willing to waive a conflict of interest because of the judiciary’s ‘independent interest

in ensuring that criminal trials are conducted within the ethical standards of the profession and that

legal proceedings appear fair to all who observe them.’” Id. (quoting Wheat, 486 U.S. at 160).

       The representation of multiple clients in a single proceeding increases the likelihood of

both actual and potential conflicts. See Wheat, 486 U.S. at 164 (noting that “multiple representation

of criminal defendants engenders special dangers of which a court must be aware”). In determining

the existence of an actual conflict or of a serious potential for an actual conflict, courts often look

in part to the relevant body of professional rules. See, e.g., Miller, 624 F.2d at 1201 (court should

disqualify attorney when it determines, based upon factual circumstances, that disqualification is

appropriate means to enforce applicable disciplinary rule). However, state ethical rules are, as the

Supreme Court has noted, “only guides” in the context of the Constitutional right to counsel.




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Strickland, 466 U.S. at 688. Thus, compliance with a state ethical rule will not always satisfy the

Sixth Amendment. Id.

       More specifically, “[a]n attorney who cross-examines former clients inherently encounters

divided loyalties.” United States v. Voigt, 89 F.3d 1050, 1078 (3d Cir. 1996) (internal citation

omitted). In such circumstances, an attorney’s “zeal in defense of his client the accused is thus

counterpoised against solicitude for his client the witness.” Castillo v. Estelle, 504 F.2d 1243, 1245

(5th Cir. 1974). Such a scenario may create risks “that no attorney should accept and that no court

should countenance, much less create.” Id. Indeed, the Fourth Circuit – among other circuit courts

– has found the existence of actual and/or potential conflicts where attorneys sought to cross-

examine their current and former clients. And again, because courts regularly deem such conflicts

non-waivable, those counsel were accordingly disqualified. See, e.g., United States v. Williams, 81

F.3d 1321, 1324-25 (4th Cir. 1996) (disqualification proper where attorney had already

represented, and might again represent, two other members of alleged conspiracy); Hoffman v.

Leeke, 903 F.2d 280, 288-90 (4th Cir. 1990) (reversing district court for failure to disqualify

counsel who had represented prosecution witness in prior trial); see also, e.g., United States v.

Voigt, 89 F.3d 1050, 1078-79 (3d Cir. 1996) (disqualification appropriate where there was “strong

possibility” that witness would “face cross-examination by [his] former attorney” that had

represented him “for purposes of responding to the grand jury subpoenas”).

       B.      Mr. Sullivan’s Conflict Cannot be Waived and Disqualification is
               Appropriate.

       Here, Mr. Sullivan’s continued representation of Benjamin poses a significant risk of

conflict at trial. Mr. Sullivan and PWSP previously represented Roderick in the same matter and,

during that prior representation, Mr. Sullivan shared a privilege with Roderick and learned

confidential information about Roderick’s knowledge of, and involvement in, the facts of this case.

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See Tessier v. Plastic Surgery Specialists, Inc., 731 F. Supp. 724, 730 (E.D. Va. 1990) (“[O]nce

an attorney-client relationship has been established, an irrebuttable presumption arises that

confidential information was conveyed to the attorney in the prior matter.”). Further, in the course

of that representation, Mr. Sullivan learned privileged information from Roderick that he or his

law firm could use to impeach Roderick on cross-examination. See id. (“[I]f the lawyer could have

obtained confidential information in the first representation that would have been relevant in the

second, then the matters are considered substantially related.”). 8

       In United States v. Williams, the Fourth Circuit upheld a district court’s disqualification of

an attorney under similar circumstances to those here. Williams was accused of writing fraudulent

checks and depositing them into his girlfriend Martin’s bank account, then withdrawing money

from the account. 81 F.3d 1321, 1322 (4th Cir. 1996). The FBI opened an investigation, and

Williams and Martin married the following year. Id. at 1323. Martin retained an attorney to

represent her in the investigation. Id. Thereafter, the Government indicted Williams and decided

not to charge Martin but to call her as a witness against Williams instead. Id. Williams sought

representation from the same attorney who represented Martin in the investigation, and the

Government moved for his disqualification. Id. The district court found that there was an obvious

conflict of interest, notwithstanding Martin’s desire not to testify and the lawyer’s willingness to

obtain auxiliary counsel to cross-examine Martin. Id. The district court disqualified counsel. Id.

       On appeal, the Fourth Circuit held that the district court’s decision to disqualify counsel

was squarely within its discretion, recognizing the threat the lawyer’s “former representation

necessarily posed to his ability to conduct effective and fair cross-examination of the potential



8
  In fact, in his waiver, Roderick expressly states that PWSP can use confidential information
shared during the course of the representation, including during cross-examination, despite the
duties owed to him as a former client. See Exhibit 16 at ¶ 15.
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witness.” Id. at 1324-25. The Williams court identified that a potential conflict exists when there

is a risk that the lawyer would improperly use privileged information during cross-examination or

would fail to effectively cross-examine the witness. Id. The court explained that even when clients

may offer to waive a conflict, the court “must yet be free to insist on separate representation in

order to vindicate its own ‘independent interest in ensuring that criminal trials are conducted within

the ethical standards of the profession and that legal proceedings appear fair to all who observe

them.’” Id. at 1324.

       Cases within the Fourth Circuit applying the principles espoused in Wheat and Williams

are also instructive and reveal that disqualification is necessary. See, e.g., United States v. Cortez,

205 F. Supp. 768 (E.D. Va. 2016); United States v. Hoback, 2018 WL 3639835 (W.D. Va. 2018).

In Hoback, the defendant’s counsel previously represented a material witness for the government

who was a cooperating, unindicted co-conspirator under the government’s theory of the case. 2018

WL 3639835 at *1. The court found that the attorney had formed an attorney-client relationship

with the witness, the witness and defendant’s interests were materially adverse, and the past and

present representations were related. Id. at *2. Under these circumstances, the court found that

there was, at a minimum, a serious potential for a conflict of interest. Id. Although both the witness

and defendant waived the conflict, the court recognized that it had a separate duty under the Sixth

Amendment to weigh the defendant’s rights to conflict-free counsel and counsel of choice against

the judiciary’s independent duty to safeguard the integrity of criminal proceedings. Id. at *3. The

court found that when confidentiality conflicts with the right to choose counsel, “confidentiality

prevails.” Id. (quoting Tessier, 731 F. Supp. at 729). Thus, the court concluded that the waivers

were not sufficient to remedy the serious potential for conflict of interest but that “disqualification

[was] necessary to safeguard the integrity of the criminal proceedings.” Id.



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       So too here. Williams and its progeny make clear that Mr. Sullivan’s continued

representation of Benjamin creates, at a minimum, a serious potential for conflict of interest. As

explained above, the Government intends to call Roderick as a witness to elicit testimony against

Benjamin consistent with the information Roderick provided to the FBI. See Voigt, 89 F.3d at 1078

(“an[y] attorney who cross-examines former clients inherently encounters divided loyalties”)

(citing United States v. Moscony, 927 F.2d 742, 750 (3d Cir. 1991)); see also Malpiedi, 62 F.3d

465. In Williams, the court placed great emphasis on the threat that the conflicted lawyer’s “former

representation necessarily posed to his ability to conduct effective and fair cross-examination of

the potential witness.” 81 F.3d at 1325 (citing United States v. Ross, 33 F.3d 1507 (11th Cir.

1994)). 9 If Mr. Sullivan or his law firm avoid certain lines of inquiry upon Roderick’s cross-

examination so as to avoid any appearance of impropriety, they may deny Benjamin his right to

adequate representation. Mr. Sullivan would “face an intolerable choice between (i) pulling

punches on cross-examination, or (ii) undermining the admissibility, credibility, and weight of

[Roderick’s] testimony.” Cortez, 205 F. Supp. 2d at 777. Mr. Sullivan’s obligation to zealously

defend Benjamin is therefore in direct conflict with his obligation to maintain his duty of loyalty

and confidentiality to Roderick, and no waiver can overcome this deficiency in the proceedings.

       Nor do Mr. Sullivan’s waivers cure the conflict that his continued representation presents.

The Government’s concerns regarding Mr. Sullivan and PWSP’s cross-examination of their




9
   SCRPC 1.7(a)(2) similarly prohibits representation where “there is a significant risk that the
representation of one or more clients will be materially limited by the lawyer’s responsibilities to
. . . a former client. . . .” As explained in Comment 8 to that rule, “a conflict of interest exists if
there is a significant risk that a lawyer’s ability to consider, recommend or carry out an appropriate
course of action for the client will be materially limited as a result of the lawyer’s other
responsibilities or interests.” Because Mr. Sullivan cannot “carry out” an effective cross-
examination of Roderick – an adverse and critical Government witness – he necessarily has a
conflict of interest on the case, one that impacts Benjamin’s Sixth Amendment rights.
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former client only scratch the surface of potential problems at a forthcoming trial. The contours

of such a cross-examination are unclear, but at least some of the myriad potential conflicts are

foreseeable:

           x   If, for example, Roderick testifies consistently with his statements to FBI – thus
               implicating Benjamin – Paragraph 15 of Roderick’s “waiver” expressly allows Mr.
               Sullivan to impeach him with otherwise privileged or confidential information from
               the prior representation or with the language of the waiver itself.

           x   In such a scenario, the defense will be obligated to provide any prior statement
               made by Roderick to Mr. Sullivan and PWSP under Rule 26.2 of the Federal Rules
               of Criminal Procedure. The Court will need to determine the scope of the privilege
               waiver embedded in Paragraph 15, and its effect on Roderick’s examination and
               the scope of available discovery.

           x   This effort will be made more complicated by the joint defense agreement Roderick
               shared with Benjamin, who could be disadvantaged by the production of privileged
               and confidential information regarding Roderick’s representation.

           x   Whether or not the defense produces a prior statement under Rule 26.2, if Mr.
               Sullivan and PWSP intend to impeach Roderick using privileged or confidential
               information from the prior representation, they will be doing so based on their own
               personal knowledge and recollections, which makes them necessary witnesses to
               the prior statement. This would present an entirely different conflict issue under
               SCRCP 3.7 (“Lawyer as Witness”).

           x   Given that Mr. Sullivan and PWSP represented Roderick for nearly a year, during
               which time they knew the focus and scope of the Government’s investigation, it is
               unlikely that there are any material subjects Roderick may testify to that he did not
               previously discuss with Mr. Sullivan and PWSP.

           x   Accordingly, if Mr. Sullivan and PWSP cross-examine Roderick, they will
               unavoidably have access to information about his testimony learned within the
               scope of the prior representation. If they use this knowledge against him, it will
               trigger new discovery obligations, invite an extended privilege waiver analysis that
               could have negative implications for Benjamin, and raise a potential new
               disqualifying conflict under Rule 3.7

           x   On the other hand, if Mr. Sullivan and PWSP choose not to cross-examine Roderick
               about matters within the scope of their prior representation, they will forego an
               opportunity to impeach an adverse Government witness and compromise
               Benjamin’s Sixth Amendment rights.



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Neither the Court nor the Government can predict every conflict that may unfold as this case

proceeds to trial. But this “intolerable choice,” created by Mr. Sullivan, is unavoidable. Cortez,

205 F. Supp. 2d at 777. As the Supreme Court recognized in Wheat, the “likelihood and dimensions

of nascent conflicts of interest are notoriously hard to predict, even for those thoroughly familiar

with criminal trials. It is a rare attorney who will be fortunate enough to learn the entire truth from

his own client, much less be fully apprised before trial of what each of the Government’s witnesses

will say on the stand.” Wheat, 486 U.S. at 162-63. “Nor is it amiss to observe that the willingness

of an attorney to obtain such waivers from his clients may bear an inverse relation to the care with

which he conveys all the necessary information to them.” Id. at 163.

         Mr. Sullivan and PWSP’s continued representation of Benjamin would create significant

trial, appellate, and post-conviction consequences that will inevitably follow should Benjamin be

convicted. See Wheat, 486 U.S. at 161-62 (“Nor does a waiver by the defendant necessarily solve

the problem, for we note, without passing judgment on, the apparent willingness of Courts of

Appeals to entertain ineffective-assistance claims from defendants who have specifically waived

the right to conflict-free counsel.”); Hoffman, 903 F.2d at 288 (applying Wheat to the point of

reversing for abuse of discretion a district court’s refusal to disqualify because of party waiver

when the conflict was “obvious and palpable”). Practically, the Court must decide whether to

exercise its discretion to cure the ethical deficiencies present and protect the integrity of the judicial

process. Williams, 81 F.3d at 1324 (“[C]ourt[s] must have sufficiently broad discretion to rule

without fear that it is setting itself up for reversal on appeal either on right-to-counsel grounds if it

disqualifies the defendant’s chosen lawyer, or on ineffective-assistance grounds if it permits

conflict-infected representation of the defendant.”).

III.     CONCLUSION



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       Given the materially adverse interests of Roderick and Benjamin, Mr. Sullivan and

PWSP’s continued representation of Benjamin violates the Sixth Amendment. Therefore, the

Government requests that the Court grant its motion to disqualify Mr. Sullivan and PWSP.

                          [SIGNATURE BLOCK FOLLOWING]




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                              Respectfully submitted,

                              M. RHETT DEHART
                              ACTING UNITED STATES ATTORNEY

                        By:   /s/Emily E. Limehouse
                              EMILY E. LIMEHOUSE (#12300)
                              BROOK B. ANDREWS (#10231)
                              WINSTON D. HOLLIDAY, JR. (#7597)
                              Assistant United States Attorneys
                              151 Meeting Street, Suite 200
                              Charleston, SC 29401
                              Telephone (843) 266-1663
                              Facsimile (843) 727-4443
                              Email:     Emily.Limehouse@usdoj.gov

                              Attorneys for the United States of America


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